                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                      AT CHATTANOOGA

 UNITED STATES OF AMERICA                      )       COLLIER/CARTER
                                               )
         v.                                    )       CASE NO. 1:10-CR-110
                                               )
 PATRICIA ANN WEST                             )



                                   REPORT AND RECOMMENDATION

         Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on January 13,

 2011. At the hearing, defendant entered a plea of guilty to the lesser included offense in Count

 One of the Indictment, conspiracy to manufacture and distribute five grams or more of actual

 methampehtamine and fifty grams or more of a mixture and substance containing a detectable

 amount of methamphetamine, a Schedule II controlled substance, in violation of 21 USC §§ 846,

 841(a)(1) and 841(b)(1)(B), in exchange for the undertakings made by the government in the

 written plea agreement. On the basis of the record made at the hearing, I find that the defendant

 is fully capable and competent to enter an informed plea; that the plea is made knowingly and

 with full understanding of each of the rights waived by defendant; that it is made voluntarily and

 free from any force, threats, or promises, apart from the promises in the plea agreement; that the

 defendant understands the nature of the charge and penalties provided by law; and that the plea

 has a sufficient basis in fact.

         I therefore recommend that defendant's plea of guilty to the lesser included offense in

 Count One of the Indictment be accepted, that the Court adjudicate defendant guilty of the

 charges set forth in the lesser included offense in Count One of the Indictment, and that the


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 written plea agreement be accepted at the time of sentencing. I further recommend that

 defendant remain in custody pending sentencing in this matter. Acceptance of the plea,

 adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are

 specifically reserved for the district judge.

         The defendant’s sentencing date is scheduled for Thursday, May 19, 2011, at 2:00 pm.



                                                 s/William B. Mitchell Carter
                                                 UNITED STATES MAGISTRATE JUDGE




                                        NOTICE TO PARTIES

        You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or
 proceedings objected to, and must be filed and served no later than fourteen days after the plea
 hearing. Failure to file objections within fourteen days constitutes a waiver of any further right to
 challenge the plea of guilty in this matter. See 28 U.S.C. §636(b).




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